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wv Ss
ww UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF MICHIGAN

Grayson-Bey

Plaintiff(s), Case No. 19-13588
Vv. Judge Nancy G. Edmunds
Southfield Police Department, et al. Magistrate Judge David R. Grand
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Defendant(s). oy
ACKNOWLEDGMENT OF RECEIPT OF DOCUMENTS

The following documents were delivered to the United States Marshals for service of process:

1) Order Directing Service/Reservice dated 12/16/19 ;

2) USM 285 and Summons form(s);

. FEED USDC - CLRK DET
3) _4 copy(ies) of Complaint. 5099 PA 7 oe KDE

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Date: January 7, 2020 3/D.Peruski
Deputy Clerk

ACKNOWLEDGMENT

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Case 2:19-cv-13588-NGE-DRG ECF No. 8, PagelD.24 Filed 01/07/20 Page 2 of 5

U.S. Department of Justice PROCESS RECEIPT AND RETURN

United States Marshals Service See “Instructions for Service of Process by U.S. Mar shai’

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2, USMS RECORD
3. NOTICE OF SERVICE
4. BILLING STATEMENT™: To be retumed to the U.S. Marshal with payment,

ifany amount is owed. Please remit promptly payable to U.S. Marshal. Form USM-285
5. ACKNOWLEDGMENT OF RECEIPT Rev. 11/13
Case 2:19-cv-13588-NGE-DRG ECF No. 8, PagelD.25 Filed 01/07/20 Page 3 of 5

U.S. Department of Justice PROCESS RECEIPT AND RETURN

United States Marshals Service See “Instructions for Service of Process by U.S. Marshal’

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Case 2:19-cv-13588-NGE-DRG ECF No. 8, PagelD.26 Filed 01/07/20 Page 4 of 5

U.S. Department of Justice PROCESS RECEIPT AND RETURN

United States Marshals Service See "Instructions for Service of Process by U.S. Marshai"

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5. ACKNOWLEDGMENT OF RECEIPT Rev. 11/13

Case 2:19-cv-13588-NGE-DRG ECF No. 8, PagelD.27 Filed 01/07/20 Page 5of5

U.S. Department of Justice PROCESS RECEIPT AND RETURN

United States Marshals Service See “Instructions for Service of Process by US. Marshal"

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